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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                               CASE NO.: 1:04-CR-010-SPM


JOHNNY GEORGE,

     Defendant.
________________________________/

                    ORDER REDUCING RESTITUTION AMOUNT

       THIS CAUSE comes before the Court upon the “Unopposed Motion to

Reduce Monthly Amount of Restitution Payment” (doc. 463) filed by Defendant

Johnny George December 30, 2005. Defendant explains that his salary has

recently decreased, making it difficult for him to meet his monthly restitution

obligation of $350.00. Defendant estimates that he can pay $100.00 each month

and still meet other expenses. Neither the Government nor the Probation Office

has any objection to this modification.

       The Court finds good reason for the reduction. Accordingly, it is

       ORDERED AND ADJUDGED as follows:

       1.     The motion to reduce restitution payments (doc. 463) is hereby

              granted.
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       2.   Defendant shall make monthly restitution payments in the amount

            of $100.00.

       3.   All remaining conditions in the judgment and sentencing documents

            shall remain in full force and effect.

       DONE AND ORDERED this fourth day of January, 2006.


                                    s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge

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